914 F.2d 1491Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Andrew Maurice MARYLAND, Plaintiff-Appellant,v.Larry W. JARVIS, Richard R. Mayfield, John W. Appleford,Thomas R. Israel, Attorney General's Office, MajorArmentrout, Debbie Cook, Corporal Swisher, Mrs. Montgomery,Unknown Member of Adjustment Committee, Defendants-Appellees.
    No. 89-6809.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 27, 1990.Decided Sept. 26, 1990.
    
      Appeal from the United States District Court for the Western District of Virginia, at Harrisonburg.  James H. Michael, Jr., District Judge.  (CA-88-155-H)
      Andrew Maurice Maryland, appellant pro se.
      Richard Francis Gorman, III, Office of the Attorney General of Virginia, Richmond, for appellees.
      W.D.Va.
      AFFIRMED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Andrew Maurice Maryland appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Maryland v. Jarvis, CA-88-155-H (W.D.Va. Aug. 31, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    